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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                          Case No.

 KATHLEEN M. AMARAL on behalf of
 herself and all others similarly situated,

        Plaintiff,

 vs.

 U. S. SECURITY ASSOCIATES, INC.,
 a/k/a and d/b/a USSA,

       Defendant.
 _____________________________________/

                                            COMPLAINT

        Plaintiff, Kathleen M. Amaral (“Ms. Amaral” or “Plaintiff”) on her own behalf and on

 behalf of all those similarly situated, sues Defendant, U.S. Security Associates, Inc. a/k/a and

 d/b/a USSA (“USSA” or “Defendant”), a Florida Profit Corporation, (Ms. Amaral and USSA

 are hereinafter referred to as the “Parties”) and states:

                                   GENERAL ALLEGATIONS

        1.      This is an action for declaratory judgment, to recover monetary damages in the

 form of unpaid overtime compensation, as well as an additional amount as liquidated damages,

 to redress the deprivation of rights secured to Plaintiff and other employees similarly situated by

 the Fair Labor Standards Act, as amended, 29 U.S.C. § 201 et. seq. (“FLSA”) and for an award

 of attorneys’ and paralegal fees and costs.

                                          JURISDICTION

        2.      This Court has subject jurisdiction over this controversy pursuant to 29 U.S.C. §

 216(b), under the FLSA.

        3.      At all times material hereto, Ms. Amaral was an employee of USSA in the State

 of Florida.
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          4.    At all times material, although Defendant misclassified Plaintiff as being exempt

 from overtime, Plaintiff was actually a non-exempt employee of USSA and entitled to be paid

 overtime.

          5.    USSA is one of the nation’s largest providers of a range of security services

 including, but not limited to, security guards, with several divisional headquarters in various

 parts of Florida (among other states) and which conducts business throughout Florida with and

 for approximately 2,000 clients in Florida alone, including government contracts.

          6.    USSA does business in Orange County, Florida and has a branch office located

 there.

          7.    At all times material, USSA operated as a business organization which sells

 and/or markets its services and/or goods to customers from throughout the United States and

 elsewhere and also provides its services for goods sold and transported from across state lines of

 other states, and USSA obtains and solicits funds from non-Florida sources, accepts funds from

 non-Florida sources, uses electronic, digital and telephonic transmissions going over state lines

 to do its business, transmits funds outside the State of Florida, and otherwise regularly engages

 in interstate commerce, particularly with respect to its employees. As such, USSA owned and

 operated a business engaged in commerce or in the production of goods for commerce as

 defined in §3(r) and 3(s) of the FLSA, 29 U.S.C. §203(r) and 203(s).

          8.    Upon information and belief, at all times material hereto, USSA’s annual gross

 revenue exceeded $500,000 per annum.

          9.    Defendant is subject to the personal jurisdiction of this Court because it operates,

 conducts, engages in, and/or carries on business in the Middle District of Florida.

          10.   Defendant is also subject to the personal jurisdiction of this Court because it

 engages in substantial and not isolated activity within the Middle District of Florida.




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                                             VENUE

        11.    This Court is the appropriate venue based upon the following:

               (a)     The unlawful employment practices alleged herein occurred and/or were

                       committed in Orange County, Florida, where USSA is located and

                       conducts business;

               (b)     The acts complained of and the causes of action sued upon occurred in

                       Orange County, Florida; and

                                            PARTIES

        12.    Plaintiff, a former employee of USSA, was and continues to be a resident of

 Orange County, Florida.

        13.    In April 1994, Plaintiff began her employment with USSA as a Site Manager.

        14.    Within months, Plaintiff was named an Administrative Assistant.

        15.    Although she was not exempt, she was paid improperly on a salary basis and not

 paid overtime for work performed over 40 hours per week.

        16.    In or around 2010, there was a period for about a year or so when Plaintiff was

 actually paid overtime when she worked more than 40 hours per week, in recognition that

 Plaintiff was non-exempt and entitled to be paid overtime AND in recognition that Plaintiff’s

 workweek was a 40-hour workweek.

        17.    Her supervisor, Hank Hiday put a stop to that practice, and it is believed that he

 did so around the time Defendant merely changed Plaintiff’s title to that of “office manager,”

 even though her duties did not change and her approximate total pay stayed about the same or

 was diminished.

        18.    It appears that Defendant gave her a new title and re-classified her (incorrectly) to

 exempt status so they could (improperly) stop paying Plaintiff overtime and get her to work

 longer hours and take on more non-exempt duties without having to pay for it.




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         19.    USSA stopped paying Plaintiff overtime for any hours she worked in excess of

 forty (40).

         20.    When she was paid overtime, Defendant took what had been her salary and

 divided it by 2,080 hours (i.e., 40 hours per week times 52 weeks or 2,080) to arrive at a regular

 rate and the overtime rate Defendant used was 1.5 times that regular rate, all based on a 40 hour

 work week.

         21.    Plaintiff remained the Office Manager (in title only) until June 2018, when she

 was summarily terminated.

         22.    Plaintiff was summarily terminated in June 2018 without cause and was told it

 was because of USSA’s reorganization in connection with its impending sale. It is believed that

 Plaintiff was fired because Defendant wanted to sell the company or an interest in the company

 and wanted to reduce its labor expense. Other employees were let go similarly. It is unknown at

 this time whether Defendant has informed its buyer.

         23.    Plaintiff received compensation in the same amount, $1,428.80, in each of her bi-

 weekly paychecks.

         24.    At the time Plaintiff was terminated, she was paid a salary, which, if divided by

 2,080 hours would be about $17.86 per hour.

         25.    Although Defendant misclassified Plaintiff as being exempt from overtime,

 Plaintiff was actually a non-exempt employee of USSA and entitled to be paid overtime.

         26.    Plaintiff’s duties included doing whatever task the Defendant instructed her to

 perform, which varied depending upon the position at the time, but all positions involved her

 communicating with members of management as to how they wanted to handle certain

 situations.

         27.    Plaintiff did not have the ability to hire or fire anyone (nor did she hire or fire

 anyone), and she did not regularly and customarily direct the work of any employees, much less

 two or more full-time workers.


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        28.     Plaintiff was only given tasks that were designed to facilitate production of work

 of the Defendant, such as the tasks described above, all of which consisted of regular, recurrent,

 and routine work that did not involve her exercising independent judgment and discretion on

 matters of significance.

        29.     Plaintiff’s duties were not managerial.

        30.     Plaintiff did not have any authority to interview, select, and/or train employees.

 Plaintiff did not have any authority to set and adjust the rates of pay and hours of work for any

 employees. Plaintiff had no authority to direct the work of employees. Plaintiff did not maintain

 production or sales records at all when she worked for the Defendant, nor did she use any such

 records to supervise or control any employee. In fact, Plaintiff does not even know anything

 about the business’s financing or financial success or failure. It was not her responsibility.

 Plaintiff knows nothing about the sales numbers or figures, as that was not her responsibility, but

 rather the responsibility of someone else in higher management. Plaintiff did not supervise any

 staff. Plaintiff had absolutely no say concerning any of the costs. For example, concerning

 wages paid to employees, Plaintiff had no say concerning what any particular employee would

 be paid, how many employees could work in the offices, when, what hours they could work,

 whether their pay should be increased or decreased, as all of that was determined by the

 Defendant . Plaintiff had no authority to spend any of the Defendant’s money at all, and had no

 authority to authorize the payment of bills. Plaintiff never opened up any mail that came to the

 building for purposes of making any decision concerning the business with respect to that mail.

        31.     While Plaintiff worked for the Defendant, she never appraised employees’

 productivity and/or efficiency for the purpose of recommending promotions or other changes in

 status. While Plaintiff worked for the Defendant, she never handled employee complaints and

 grievances, as that was for the Defendant to do. In addition, Plaintiff never disciplined

 employees, nor did she have the power or authority to do that. Plaintiff did not plan any work for

 any employee, as there was no work to plan. Plaintiff never determined any techniques to be


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 used by employees to do their job, as she could not tell another employee what responsibilities

 to take on. Plaintiff was not allowed to apportion work among any employees, as there were no

 employees who reported to her to whom she could apportion work. Plaintiff never determined

 the type of materials, supplies, machinery, equipment, or tools to be used by any employees, as

 the Defendant or the employees themselves decided all of that. Plaintiff had no involvement in

 controlling the flow and distribution of materials or merchandise and supplies. Plaintiff had

 nothing whatsoever to do with materials, merchandise, or supplies or their distribution. Plaintiff

 had no involvement with respect to budgeting. Plaintiff was not involved in reviewing any sort

 of financial documents or statements of the business operations, and she did not review any such

 documents, nor was Plaintiff supposed to. Plaintiff had no involvement in monitoring or

 implementing legal compliance measures. There were no legal issues that Plaintiff had anything

 to do with in terms of deciding how they would be handled or dealt with while she worked for

 Defendant, nor did she have anything to do with paperwork concerning new employees or hires.

 Plaintiff simply followed the well-established techniques and procedures with respect to her

 duties, all of which were repetitive, routine, and recurrent work.

        32.     Plaintiff did not do anything that could have resulted in financial losses for the

 Defendant. Plaintiff did not perform work that was directly related to management or general

 business operations of Defendant or their customers, because Plaintiff did not perform work

 directly related to assisting with the running or servicing of the business, but rather was

 engaging in production work (data process to keep books and other manual tasks). Plaintiff also

 did not perform work directly related to the management or general business operations of the

 Defendant because Plaintiff did not work in a functional area such as tax; finance; accounting;

 budgeting; auditing; insurance; quality control; purchasing; procurement; advertising;

 marketing; research; safety and health; personnel management; human resources; employee

 benefits; labor relations; public relations, government relations; computer network, internet and




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 database administration; legal and regulatory compliance; and similar activities. Rather, Plaintiff

 was one more person looking to perform production work the Defendant relied on so heavily.


          33.   Plaintiff worked Monday through Friday, 10-12 hours per day (50-60 hours per

 week), performing non-exempt office duties.

          34.   In addition, on Saturdays, (until Michael Dalton took over the responsibility),

 Plaintiff also did inspections in the field and worked job sites. Plaintiff always informed her

 Branch Manager when she was working in the field. Often this Saturday work was for 8-12

 hours.

          35.   Usually on the weekends, but sometimes during the week, Plaintiff also

 performed the following duties:

                a)   maintained all of the fleet vehicles which required Plaintiff to have them

                     serviced (i.e. oil changes, repairs, etc.) on the weekends; and

                b)   delivered Branch vehicles to replace on site vehicles whenever they would

                     break down.

          36.   These extra weekend duties added an additional 8 to 16 hours of work to

 Plaintiff’s schedule every week.

          37.   Therefore, overall, Plaintiff estimates that she worked approximately between 58-

 76 hours each week.

          38.   Defendant did not pay Plaintiff overtime even though she was non-exempt and

 worked more than 40 hours per week in most, if not all, of the weeks she worked for Defendant.

          39.   Defendant knowingly and willfully failed to pay Plaintiff and other employees

 similarly situated their lawfully earned wages and overtime compensation in conformance with

 the FLSA.

          40.   The Plaintiff and others similarly situated to her were workers who worked at

 USSA with the title of Office Manager, who were misclassified as exempt employees, and were



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 not paid overtime for hours they worked over 40 hours in one or more weeks over the past three

 years or longer.

           41.   Defendant, exercising reasonable diligence, would have gained knowledge that

 Plaintiff and its employees were not being compensated at the rate of one and a half times the

 regular rate for those hours that were worked in excess of forty (40) per week, as required by the

 FLSA. Defendant knew the amount of time Plaintiff spent performing work or, with the exercise

 of reasonable care, could have and should have known of the existence of all of the time worked

 by Plaintiff.

           42.   Defendant has been sued previously for overtime violations and, therefore, knew

 or should have known it was in violation of the FLSA, sufficiently to warrant the extension of

 the applicable statute of limitations from two to three years.

           43.   Furthermore, the poster employers are required to post to inform employees of

 their rights under the FLSA was not posted and/or kept current and, therefore the applicable

 statute of limitation should be equitably tolled. See, e.g.,Cruz v. Maypa, 773 F.3d 138, 147 (4th

 Cir. 2014) (extending failure-to-post tolling in the ADEA context to the FLSA); Yu G. Ke v.

 Saigon Grill, Inc., 595 F. Supp. 2d 240, 259 (S.D.N.Y. 2008) (“Failure to provide required

 notice of the governing legal requirements may be a sufficient basis for tolling.”); Kamens v.

 Summit Stainless, Inc., 586 F. Supp. 324, 328 (E.D. Pa. 1984) ("An employer's failure to post a

 statutorily required notice of this type tolls the running of any period of limitations.”).

           44.   Defendant has violated Title 29 U.S.C. §206 and/or §207 in that, among other

 reasons:

                 (a)    Plaintiff was not paid overtime to which she was entitled; and

                 (b)    Defendant has failed to maintain proper time records as mandated by the

                        FLSA.

           45.   Other employees similarly situated to Plaintiff were not paid overtime they had

 earned.


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         46.     Plaintiff has retained Schwarzberg & Associates, P.L. to represent her (and those

 who join in this collective action) and has agreed to pay the Firm reasonable attorneys’ and

 paralegal fees for its services.

         47.     Plaintiff has fulfilled all conditions precedent to the filing of this lawsuit and/or

 such conditions have been waived.

                                 COUNT I
               UNPAID OVERTIME COMPENSATION – DECLARATION—
                          VIOLATION of 29 U.S.C. § 207

         48.     Plaintiff realleges and reavers the General Allegations as if fully set forth herein.

         49.     During Plaintiff’s employment with the Defendant, she worked hours in excess of

 forty (40) per week for which she was not compensated at the statutory rate of time and one-

 half.

         50.     Plaintiff was entitled to be paid at the rate of time and one-half for hours worked

 in excess of the maximum hours provided for in the FLSA.

         51.     Defendant failed to pay Plaintiff overtime compensation in the lawful amount for

 hours worked in excess of the maximum hours provided for in the FLSA.

         52.     Records, if any, concerning the number of hours worked by Plaintiff and the

 actual compensation paid to her are in the possession and custody of the Defendant. Plaintiff

 intends to obtain these records by appropriate discovery proceedings to be taken promptly in this

 case to determine the amount due to her.

         53.     Defendant knew of and/or showed a willful disregard for the provisions of the

 FLSA, as evidenced by its failure to compensate Plaintiff at the statutory rate of time and one-

 half for the hours worked in excess of forty (40) hours per week when they knew or should have

 known such was due.

         54.     Defendant failed to properly disclose or apprise Plaintiff of her rights under the

 FLSA.




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          55.    Plaintiff has suffered damages in the amount not presently ascertainable of

  unpaid overtime wages, plus an equal amount as liquidated damages.

          56.    Plaintiff is entitled to an award of her reasonable attorneys’ fees and costs

  pursuant to 29 U.S.C. § 216(b).

          WHEREFORE, Plaintiff, Kathleen M. Amaral, respectfully requests that judgment be

  entered in her favor and for all others similarly situated who join in the action against the

  Defendant:

          a.     Declaring that Defendant has violated the overtime provisions of 29 U.S.C. §
                 207;

          b.     As to Plaintiff and others similarly situated:

                     i. Awarding overtime compensation in the amounts to be calculated;

                    ii. Awarding liquidated damages in the amounts calculated;

                    iii. Declaring that the statute of limitations should be extended to three years
                         and/or that the statute of limitation be tolled;

                    iv. Awarding reasonable attorneys’ and paralegal fees and costs and expenses
                        of this litigation pursuant to 29 U.S.C. § 216(b);

                     v. Awarding post-judgment interest; and

          c.     Ordering any other and further relief this Court deems to be just and proper.



                                   COUNT II
                BREACH OF EMPLOYMENT AGREEMENT/UNPAID SEVERANCE

          57.    Plaintiff re-alleges the General Allegations as if fully set forth herein.

          58.    Plaintiff was required to sign an employment agreement, which included a

  provision for severance in the event Plaintiff was terminated.

          59.    While employed by USSA, Plaintiff was entitled to be paid a severance, in the

  event Defendant terminated Plaintiff without cause, based upon her employment agreement with

  USSA.




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          60.     Not only was Plaintiff summarily terminated after twenty-four years of loyal

  dedicated service, but also USSA reneged on its promise to pay severance.

          61.     Plaintiff requested the severance due her on two different occasions, but was told

  by HR’s, Sharon Guttman, that Plaintiff’s employment agreement could not be located.

          62.     Curiously, all other Branch staff have been met with and either given a severance

  or a position with the company purchasing USSA.

          63.     To date, USSA has failed to pay Plaintiff any severance whatsoever.

          64.     Plaintiff is entitled to recover damages and her attorneys’ fees under Fla.Stat.

  Section 448.08.

          WHEREFORE, Plaintiff respectfully requests that judgment be entered in her favor and

  against USSA awarding her the amount of her severance in the amounts to be calculated,

  reasonable attorneys’ and paralegal fees and costs and expenses of this litigation pursuant;

  awarding pre- and post-judgment interest; and ordering any other and further relief this Court

  deems to be just and proper.

                                               COUNT III
                                          PROMISSORY ESTOPPEL

          65.     Plaintiff re-alleges the General Allegations as if fully set forth herein.

          66.     Defendant made numerous representations and promises (as promisor) of

  material facts to Plaintiff.

          67.     Defendant promised Plaintiff that she would be entitled to receive and would be

  paid severance in the event Defendant terminated her without cause.

          68.     Defendant terminated Plaintiff without cause.

          69.     Defendant should have reasonably expected to have induced action or

  forbearance on the part of Plaintiff.

          70.     Plaintiff forbore leaving employment with Defendant based, at least in part, on

  the promise of severance.



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         71.     Defendant’s misrepresentations induced such action by Plaintiff including, but

  not limited to, forbearing leaving the employ of the Defendant.

         72.     As a direct and proximate result, Plaintiff suffered a detriment and damages

  caused by reliance on Defendant’s misrepresentations.

         WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter a judgment

  against Defendant for damages, interest, court costs, and all such other and further relief as this

  Court deems just and proper.

                                         JURY DEMAND

  PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL ISSUES SO TRIABLE FOR
  HERSELF AND ALL OTHERS SIMILARLY SITUATED.

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